                                   STATEMENT OF FACTS

        Your affiant, John Gabbard, is a Task Force Officer with the Federal Bureau of
Investigation (FBI), assigned to the Raleigh, North Carolina Field Office. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Task Force Officer, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.
This statement of facts is intended to show merely that there is sufficient probable cause for the
issuance of a criminal complaint and does not set forth all my knowledge about this matter.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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IDENTIFICATION OF CHRISTOPHER CARNELL AND DAVID WORTH BOWMAN
     AND THEIR INVOLVEMENT IN THE EVENTS OF JANUARY 6, 2021

        On November 18, 2021, the FBI arrested Aiden Bilyard of Cary, North Carolina pursuant
to a complaint and arrest warrant arising out Bilyard’s unlawful conduct at the U.S. Capitol
Building on January 6, 2021. See United States v. Bilyard, No. 1:22-cr-0034 (RBW), ECF No. 5.
At the same time, law enforcement officers seized Bilyard’s cell phone, which subsequently was
searched pursuant to a warrant issued in the Eastern District of North Carolina.

       During the search of Bilyard’s cell phone, the FBI discovered a text message conversation
between Bilyard and three other individuals (“the Group”): one individual was identified as
“Chriss”; one individual with a phone number of (XXX) XXX-1577, but with no identifying name;
and one individual identified as “Ethan.” During the text exchange, “Chriss” identified the
individual with the phone number of (XXX) XXX-1577 as a “good man named David.”

       The Group discussed two trips from North Carolina to Washington, D.C.: one on
November 14, 2020 to an event known as the “Million MAGA March,” and one on January 6,
2021 to an event known as the “Stop the Steal Rally.”

       On November 14, 2020, “Chriss” texted Figures 1 and 2 to the Group, which show then-
unknown individuals with far-right social media figures Nick Fuentes, circled in blue, who was
wearing a beige blazer and carrying a megaphone, and Anthime Joseph “Tim” Gionet, more
commonly known as “Baked Alaska,” circled in yellow, who was wearing a gray sweatshirt and
Pit Viper-brand sunglasses.




                                                                  Figure 2



              Figure 1
       On December 21, 2020, “Chriss” sent a text to the Group containing a message from an
individual identified as, “Daniel, Stop the Steal.” The message advertised an event planned for
January 6, 2021 and stated:

                                               2

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       January 6th is going to be HISTORIC. It’s the day We the People will take to the
       steps of our nation’s Capitol and demand they represent us! It’s up to us to flood
       Washington D.C. with Patriots who will loudly tell Congress #DoNotCertify on
       #Jan6!

       Congress has ignored us for far too long, but what they cannot ignore is hundreds
       of thousands of Patriots rallying outside the halls of Congress. This will send the
       message that we stand with Rep. Mo Brooks and his colleagues in the House of
       Representatives.

       On January 3, 2021, “Chriss” texted the Group, “Ethan and Aiden January 6 DC trip you
guys coming? Me and David are down, we should probably leave earlier this time like 4 am.”

       On January 6, 2021, at 4:19 p.m., “Chriss” texted the Group, “We’re safe heading home.”
The individual with the phone number (XXX) XXX-1577 (identified as “David”) texted the
message, “I gave baked alaska my pit vipers,” and Figure 3. Figure 3 depicts an unknown
individual, believed to be “David,” circled in red and wearing a blue face mask under his chin,
gray hooded sweatshirt, and green jacket, and Anthime “Baked Alaska” Gionet wearing Pit Viper
sunglasses. I believed the unknown individual to be “David” because he was photographed next
to Gionet, who was wearing Pit Viper sunglasses.




                                            Figure 3
       On January 7, 2021, “David” texted the Group Figure 4, depicting a signed letter from
Senator Mitt Romney to then-Vice President Pence, which appears to have been taken while the
photographer was on the floor of the U.S. Senate. The letter appears to be a copy of Senator
Romney’s speech from February 2020, when he voted to impeach then-President Trump:




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                                              Figure 4

         On January 8, 2021, at 2:19 p.m., “David” texted the Group a link to a news story including
an image taken from the Senate floor on January 6, 2021. He then wrote “please delete this group
text. It would be so funny if you all deleted this as a funny ironic joke.”

        Bilyard responded, “did you get inside? Hypothetically speaking.” “Ethan” then sent a
computer-generated picture of the U.S. Capitol Building and asked, “did you get inside this cool
Minecraft Building?” “David” replied, “if I was buying textbooks for next semester, I would have
hypothetically gotten into the book store and even walk[ed] the checkout floor where all the
professors usually buy books and sometimes choose what books their students would read. But
no that was just a joke delete the chat because it’s funny.”

        Bilyard then texted the Group, “so what you’re saying is that you got into a private library
of sorts,” to which “David” responded, “In Minecraft school yes[.] But no[.] Delete all of this for
fun.” The text conversation is shown in Figure 5:




                                                 4

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                           Figure 5


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       As described above, a group of rioters unlawfully entered the U.S. Senate floor on January
6, 2021. Based on the picture that appeared to be taken from the Senate floor (Figure 4) and
“David’s” references to the “private library” and “checkout floor,” law enforcement officers
reviewed Closed Circuit Television (“CCTV”) footage taken of the Senate floor on January 6,
2021 for individuals that looked like the unknown subjects pictured above.

        Officers discovered video of two individuals unlawfully entering the Senate floor at 2:49
p.m. on January 6, 2021, and who appeared to be the same people pictured in the text message
discussion between the Group. One was wearing Pit Viper sunglasses, a blue face mask, a gray
hooded sweatshirt, and a green jacket, similar to worn by “David” in Figure 3 with Anthime
Gionet. The other was wearing eyeglasses and a red “Make America Great Again” baseball cap,
similar to that worn by the unknown individual in Figure 2. The two individuals appeared to be
traveling together and could be seen rifling through papers on Senators’ desks.




                                        Figures 6 and 7


                                               6

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       CCTV footage taken from the Senate Floor revealed that the individual wearing eyeglasses
and a red baseball cap also carried a red backpack. A CCTV camera captured video of the
backpack and showed white lettering with the name, “CARNELL” spelled out (Figure 7).




                                              Figure 8
        A video accompanying a New Yorker article entitled, “A Reporter’s Video From Inside
the Capitol Siege,” provides brief audio of the discussion between the indivduals in Figure 7. The
individual in the green jacket and green combat helmet states, with regard to documents associated
with Senator Ted Cruz, “He was gonna sell us out all along—look! ‘Objection to counting the
electoral votes of the state of Arizona.’” The individual with the red baseball cap and red backpack
bearing the name “Carnell,” responds, “Wait, no. That’s a good thing. He’s on our side. He’s
with us. He’s with us.”
       The FBI also reviewed cell phone video from another individual charged with crimes inside
the Capitol Building on January 6, 2021. That video was recorded at around 2:42 p.m. on January
6, 2021 and shows Carnell (Figure 8) and Bowman (Figure 9) just outside the Rotunda. Carnell
can be seen joining the crowd as they chanted, “treason.”




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                                            Figure 9




                                               Figure 10

       According to an online database, the carrier for both (XXX) XXX-5143 and (XXX) XXX-
1577 is AT&T. On February 7, 2022, legal process was issued to AT&T seeking subscriber
information for accounts associated with the telephone numbers (XXX) XXX-5143 and (XXX)
XXX-1577. AT&T returned documentation in response to the legal process. The information
provided by AT&T identified the billing party of the account associated with the telephone number
(XXX) XXX-5143 as Janet Carnell of Cary, North Carolina, and AT&T identified the billing party
associated with the telephone number (XXX) XXX-1577 as Ingrid W. Bowman of Raleigh, North
Carolina. Further research indicates that Janet Carnell has a son named Christopher Carnell, and
Ingrid Bowman has a son named David Worth Bowman.



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       On February 7, 2022, legal process was issued to Apple seeking subscriber information for
accounts associated with the telephone number (XXX) XXX-1577. Apple returned documentation
in response to the legal process. The information provided by Apple identified the account
subscriber as David Bowman of Raleigh, North Carolina, with an Apple ID of
mr.thesmurf@gmail.com, and an associated device of an iPhone 12 Pro Max bearing IMEI
35487650000904403.

        On February 7, 2022, legal process was issued to Google LLC seeking subscriber
information for accounts associated with the email addresses chris.carnell100@gmail.com and
davbowman01@gmail.com. Google returned documentation in response to the legal process. The
information provided by Google identified the billing party associated with the email address
chris.carnell100@gmail.com as Chris Carnell of Cary, North Carolina. The information provided
by Google identified the billing party associated with the email address
davbowman01@gmail.com as David W. Bowman with a recovery email address of
mr.thesmurf@gmail.com.

        Pursuant to an authorized search warrant, law enforcement obtained records from Google
LLC for a list of identifiers for devices utilizing location-based services within a Geofence area
that included the United States Capitol. The records show that the target account associated with
the telephone number (XXX) XXX-5143 was a OnePlus Technology (Shenzen) Co Ltd OnePlus
6 and was located in the geographic area that includes the interior of the United States Capitol
Building during and near the time of the attack on the Capitol on January 6, 2021. The Geofence
results associated that phone number with the email address chris.carnell100@gmail.com.

        The Google LLC records also show that the target account associated with the telephone
number (XXX) XXX-1577 was an Apple iPhone 12 Pro Max and was located in the geographic
area that includes the interior of the United States Capitol Building during and near the time of the
attack on the Capitol on January 6, 2021.

        On October 11, 2022, Bilyard was interviewed by agents of the FBI. Bilyard confirmed
that he participated in the text conversation described above. He explained that the other
participants in the conversation were his high school friend Ethan, a high school classmate named
Chris, whom he had known since around 2018, and Chris’s friend David. He stated that he traveled
with Chris and David to the “Million MAGA March” in November 2020. Bilyard then reviewed
Figures 1, 2, and 3, which were shown to him without the circles that are included above. Bilyard
identified the individual in the red baseball cap and eyeglasses as “Chris” and the individual
wearing sunglasses and a blue face mask as “David.”

        On December 1, 2022, agents of the FBI spoke with Christopher Carnell, who identified
himself as Carnell and appeared identical to the individual named Christopher Carnell in the North
Carolina driver’s license database. The FBI confirmed that Christopher Carnell is visually
identical to the individual pictured above wearing a red baseball cap, eyeglasses, and a blue
“hoodie” sweatshirt who breached the Senate floor on January 6, 2021.

       On December 1, 2022, agents of the FBI conducted the voluntary, non-custodial interview
of David Worth Bowman, who identified himself as Bowman and appeared to the FBI agents to


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be identical to the individual named David Worth Bowman in the North Carolina driver’s license
database. Bowman identified himself as the individual wearing sunglasses, a blue facemask, and
a green jacket in the images above, and identified Christopher Carnell as the individual pictured
wearing a red baseball cap, eyeglasses, and a blue “hoodie” sweatshirt in Figures 6 and 7. Bowman
admitted that he and Carnell entered the U.S. Capitol Building and proceeded onto the Senate
Floor on January 6, 2021. Bowman further stated that he was unaware of what was occurring
within the Senate Chamber earlier in the day, but understood that Mike Pence needed to certify
something in the House Chamber. Bowman explained that once he and Carnell actually entered
the Senate Floor, they had no clear purpose or agenda. He stated, “like we are in here … like uh
… we’re a dog, we caught the car, we don’t know what to do.”

        Also on December 1, 2022, agents of the FBI executed a federal search warrant, seizing
Bowman’s cellular telephone. Pursuant to that search warrant, the FBI searched the contents of
Bowman’s cell phone and discovered pictures and videos taken on restricted Capitol grounds and
inside the United States Capitol Building on January 6, 2021. Included among those videos were
ones showing Carnell inside the Rotunda and Bowman sitting at a Senator’s desk on the floor of
the United States Senate.




               Figure 11                                    Figure 12

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Christopher Carnell and David Worth Bowman violated 18 U.S.C. § 1512(c)(2), which makes it a
crime to obstruct, influence, or impede any official proceeding, or attempt to do so. Under 18
U.S.C. § 1515, congressional proceedings are official proceedings.

        There also is probable cause to believe that Christopher Carnell and David Worth Bowman
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of

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Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

       Finally, I submit that there is probable cause to believe that Christopher Carnell and David
Worth Bowman violated 40 U.S.C. § 5104(e)(2)(A) and (G), which makes it a crime to willfully
and knowingly (A) enter or remain on the floor of a House of Congress without authorization; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      JOHN GABBARD
                                                      Task Force Officer, FBI


        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
4.1 by telephone, this 28th day of February 2023.

                                                       G. Michael   Digitally signed by G.
                                                                    Michael Harvey

                                                       Harvey       Date: 2023.02.28 11:28:46
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                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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